     Case: 1:16-cv-05852 Document #: 30 Filed: 04/13/17 Page 1 of 5 PageID #:226




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IRIS VALCARCEL,                              )
                                             )       No.: 1:16-cv-05852
               Plaintiff,                    )
                                             )
                  vs.                        )       Judge Andrea R. Wood
                                             )
UNITED STATES OF AMERICA,                    )
                                             )
               Defendant.                    )


                    AGREED MOTION FOR APPROVAL OF
           WRONGFUL DEATH SETTLEMENT AND TO DISMISS THIS CAUSE

       NOW COMES the Plaintiff, IRIS VALCARCEL, as Special Administrator of the

ESTATE OF GIANNI REYES, deceased (Plaintiff), by and through her attorneys, GOLDSTEIN

BENDER & ROMANOFF, and petitions this court for an order approving the settlement of this

wrongful death case, and dismissing this cause by agreement, and in support thereof, states as

follows:

1.     This is a medical malpractice action under the Federal Tort Claims Act alleging that

negligent prenatal care caused the wrongful death of the plaintiff’s decedent, GIANNI REYES,

who suffered an intrauterine fetal demise in the days prior to his delivery on March 3, 2012.

2.     IRIS VALCARCEL was appointed as Special Administrator of the Estate of GIANNI

REYES, deceased. A copy of the order entered by the Circuit Court of Cook County, Illinois, so

appointing her is attached as Exhibit A.

3.      Defendant, the UNITED STATES OF AMERICA has agreed in food faith to settle this

case for a total of FIVE HUNDRED THOUSAND DOLLARS ($500,000.00) for a full release of

all claims. A copy of the settlement agreement is attached as Exhibit B.




                                                 1
      Case: 1:16-cv-05852 Document #: 30 Filed: 04/13/17 Page 2 of 5 PageID #:227




4.      PLAINTIFF and her counsel believe the settlement is fair and reasonable, and that it is in

the best interests of the decedent’s estate.

5.      Pursuant to the Illinois Wrongful Death Act, 740 ILCS 180/1, (the ACT), the “amount

recovered in every such action shall be for the exclusive benefit of the surviving spouse and next

of kin of such deceased person.” 740 ILCS 180/2.

6.      Pursuant to Rule 6.5 of the Circuit Court of Cook County, the procedure to be followed in

cases involving actions for wrongful death brought by a representative on behalf of a decedent’s

estate shall be as follows:

               6.5.1(a) The judge hearing the case, upon the approval of a
               settlement as fair and reasonable or upon the entry of a judgment,
               shall adjudicate liens, determine the expenses, including attorneys’
               compensation, to be deducted from the settlement or judgment and
               shall determine the net amount distributable to each person entitled
               thereto pursuant to the provisions of the Wrongful Death Act or the
               Probate Act.

7.      The law firm of Goldstein Bender & Romanoff, pursuant to their contract, but limited by

the Tort Claims Act, 28 U.S.C. § 2678, is entitled to a 25% fee of ONE HUNDRED TWENTY

FIVE THOUSAND DOLLARS ($125,000.00). A copy of the contract is attached as Exhibit C.

8.      Goldstein Bender & Romanoff has outstanding expenses attributable to the prosecution

of this lawsuit in the sum of TWO THOUSAND FIVE HUNDRED NINETY DOLLARS AND

FORTY-FIVE CENTS ($2,590.45) and is entitled to reimbursement of same from Plaintiff. An

itemization of those expenses is attached as Exhibit D.

9.      There are no liens.

10.     That after deduction of the above stated attorneys’ fees and costs, the amount available

for distribution to be divided between the eligible next of kin is THREE HUNDRED

SEVENTY-TWO THOUSAND DOLLARS AND FIFTY-FIVE CENTS ($372,409.55).




                                                2
      Case: 1:16-cv-05852 Document #: 30 Filed: 04/13/17 Page 3 of 5 PageID #:228




11.     Associated probate costs will also be incurred. Counsel shall petition the probate court for

reimbursement of these costs.

12.     The ACT further provides that:

                “The amount recovered in any such action shall be distributed by
                the court in which the cause is heard or, in the case of an agreed
                settlement by the circuit court, to each of the surviving spouse and
                next of kin of such deceased person in the proportion, as
                determined by the court, that the percentage of dependency of each
                such person upon the deceased person bears to the sum of the
                percentages of dependency of all such persons upon the deceased
                person…The trial judge shall conduct a hearing to determine the
                degree of dependency of each beneficiary upon the decedent. 740
                ILC 180/2. (emphasis added).

13.     The ACT contemplates that “’next of kin’ are those blood relatives of the decedent who

are in existence at the time of the decedent’s death who would take the decedent’s property if the

decedent had died intestate.” Johnson v. Provena St. Theresa Medical Center, 778 N.E.2d 298,

305 (2d Dist. 2002) (emphasis in original).

14.     Additionally, the laws of intestate do not distinguish “between the ‘kindred of the whole

and the half blood.’” Johnson, 778 N.E.2d at 305, citing 755 ILCS 5/2-1 (West 2000).

15.     Accordingly, the eligible beneficiaries to the wrongful death proceeds in this case are

GIANNI REYES’ natural parents, siblings and half-siblings “who were in existence at the time

of [his] death.” Id.

16.     GIANNI REYES is survived by his natural parents, Iris Valcarcel and Jose Reyes, who

are legally divorced.

17.     GIANNI REYES is survived by the following siblings / half-siblings:

                a.      Kolangi Roundtree, a minor;

                b.      Jasiah Reyes, a minor;

                c.      Makaya Leavy, a minor;



                                                 3
      Case: 1:16-cv-05852 Document #: 30 Filed: 04/13/17 Page 4 of 5 PageID #:229




               d.      Isabella Valentin, a minor;

               e.      Arianna Reyes, a minor;

               f.      Yoaliz Gonzalez, a minor;

               g.      Amelia Valcarcel, a minor; and

               h.      Valenti Fresco, a minor.

18.     However, Amelia Valcarcel and Valenti Fresco were not yet conceived at the time of

GIANNI REYES’ death, and therefore are not eligible claimants. Johnson, 778 N.E.2d at 305.

19.     Iris Valcarcel’s children are as follows, all of whom she has custody of and who reside

with her:

               a.      Kolangi Roundtree;

               c.      Makaya Leavy;

               d.      Isabella Valentin;

               e.      Amelia Valcarcel; and

               f.      Valenti Fresco.

20.     Jose Reyes is the father of three additional children, born by other women, all of whom

he does not have custody over, do not reside with him, and reside with their mothers:

               a.      Jasaiah Reyes (mother – Daisy Ramirez);

               b.      Arianna Reyes (mother – Meghan Brandt); and

               c.      Yoaliz Gonzalez (mother – Arnalis Gonzalez).

21.     Accordingly, the eligible beneficiaries to the wrongful death proceeds are as follows:

               a.      Iris Valcarcel;

               b.      Jose Reyes;

               c.      Kolangi Roundtree, a minor;




                                                  4
      Case: 1:16-cv-05852 Document #: 30 Filed: 04/13/17 Page 5 of 5 PageID #:230




               d.      Makaya Leavy, a minor;

               e.      Isabella Valentin, a minor;

               f.      Jasaiah Reyes, a minor;

               g.      Arianna Reyes, a minor; and

               h.      Yoaliz Gonzalez, a minor.

22.     No agreement can be reached regarding proper allocation of the proceeds.

23.     Accordingly, PLAINTIFF requests that this Court order that proceeds be distributable to

the next of kin subject to and in accordance with the Circuit Court’s percentage of dependency

determinations following a dependency hearing in the Circuit Court of Cook County.

24.     Defendant should be dismissed with prejudice pursuant to settlement.

        WHEREFORE, PLAINTIFF prays that an Order be entered:

               a. Finding the settlement to be fair and reasonable;

               b. That Goldstein Bender & Romanoff is entitled to its attorneys’ fees of

                    $125,000.00 and costs of $2,495.45;

               c. That Defendant UNITED STATES OF AMERICA be dismissed with

                    prejudice, without costs; and

               d. That the net amount distributable to the next of kin shall only be distributed in

                    accordance with dependency determinations following a hearing in the Circuit

                    Court of Cook County.

Goldstein Bender & Romanoff                                           Respectfully Submitted,
Attorneys for Plaintiff
One N. LaSalle Street, Ste. 1000                                      /s/ Ryan M. Griffin
Chicago, Illinois 60602                                               _______________________
Tel: (312) 346-8558                                                   Ryan M. Griffin
Fax: (312) 346-0782




                                                    5
